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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

WEI LU,
Plaintiff,
vs. No. 1:138-CV-00531 WPL/ACT
KEN CHRISTESEN, Individually and in his official
capacity as San Juan County Sheriff,
SAN JUAN COUNTY SHERIFF'S OFFICE,
ALAN JAMISON, Individually and in his official capacity,
JACOB SANCHEZ, individually and in his official capacity,
DAVID McCALL, Individually and in his official capacity,

Defendants.

DEFENDANTS’ SECOND MOTION FOR SUMMARY JUDGMENT

COME NOW Defendants Alan Jamison, Jacob Sanchez and David
McCall, by and through their attorneys, Potts & Associates (Amy L. Glasser,
Esq.), and hereby submit Defendants’ Second Motion for Summary Judgment
pursuant to Fed. R. Civ. P. 56. Plaintiff opposes this Motion.

INTRODUCTION

Plaintiff Wei Lu filed a Complaint in which she alleged that defendants
falsely arrested her, wrongfully took her personal belongings and money during
the arrest, and violated her Federal and State Constitutional rights under 42
USC §§ 1983 and 1985. Plaintiff alleged that the defendants deprived her of
equal protection, due process, and violated her Fourth Amendment right to be
free from unreasonable search and seizure, all of which plaintiff claims
occurred because she is Asian.

On September 13, 2013, defendants filed their first Motion for Summary
Judgment [Doc. 28]. After extensive briefing, the Court issued its Memorandum

Opinion and Order [Doc. 46], granting in part and denying in part defendants’

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Motion. Defendants now file this Second Motion for Summary Judgment as to
the search of the plaintiffs residence and USB drive on the basis that
defendants are now able to offer additional evidence for the Court’s
consideration.

For purposes of efficiency and to avoid any unnecessary or repetitious
argument, defendants respectfully request that the Court refer to and
incorporate the case law and arguments offered in the briefing on defendants’
first Motion for Summary Judgment. In support of their Second Motion for
Summary Judgment regarding the search of plaintiffs home, defendants offer
the following.

LEGAL ARGUMENT

I, Defendants Are Entitled to Qualified Immunity As They Had a
Valid Warrant to Search Plaintiff's Residence and Evidence

Seized at the Residence.
Qualified immunity is broad and protects “all but the plainly incompetent
or those who knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341
(1986). ‘To determine if qualified immunity applies, this Court must look to
whether a reasonable officer could have believed his or her conduct to be lawful
in light of the clearly established law and the information possessed by the

officer at the time the conduct occurred. Anderson v. Creighton, 483 U.S. 635,

641 (1987).

In its Memorandum Opinion and Order, the Court addressed the search of
plaintiffs home and noted that, absent exigent circumstances, police may not
enter a home without a warrant. Because defendants were unable to offer the
Court a complete copy of the Search Warrant for the home and no exigent

circumstances existed to permit search of the home without a warrant, the

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Court denied the Motion for Summary Judgment as to the search of the
residence. As part of the briefing, defendants argued that they did have a
Search Warrant for the residence but that the first page of the Search Warrant
signed by the District Court Judge became jammed in the fax machine and,
therefore, was not filed with the District Court following the search.
Unfortunately, the documents available to defendanis that were subsequently
presented to the Court failed to clarify or sufficiently evidence that defendants
did, in fact, have a verified Search Warrant for the home. This Court stated
that “[wlhile records may later surface indicating that there was a warrant for
the search of the home, at the summary judgment stage, Defendants have failed
to produce any warrant.” On that basis, this Court denied summary judgment
with respect to claims arising from the search of the home.

Following the Court’s ruling, defendants continued their efforts to
sufficiently establish for the Court that they did have a Search Warrant for the
home. Defendants now present an Affidavit of the Honorable Sandra A. Price
for the Court's consideration. See Exhibit “A” attached hereto. Judge Price
attests and affirms under oath that she did receive Affidavits for Search
Warrants for plaintiffs residence , business and vehicle. Judge Price further
attests and affirms that she issued Search Warrants for the business, vehicle
and residence and that the Search Warrants she issued were consistent with
the Affidavits. Judge Price also affirms that the evidence seized during the
searches was consistent with the Search Warrants she issued, including and
specifically in regard to the plaintiffs residence.

On the basis that Judge Price has confirmed that she did issue a Search

Warrant for the plaintiffs residence, based on an Affidavit that established

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probable cause, and that the evidence seized at the residence was consistent
with and permitted by the Search Warrant, defendants move for dismissal of all
claims arising from the search of the home.

In the Memorandum Opinion and Order, the Court also denied summary
judgment as to the search of the USB drive which was seized during the search
of the plaintiffs home. The Court held that the Affidavit to search the electronic
devices was based on the “unverified search warrant” and, therefore, the
defendants were not entitled to qualified immunity in regard to the search of the
USB drive. Having established through Judge Price’s Affidavit that defendants
did have a valid and verified Search Warrant for plaintiffs home, the basis for
the denial of summary judgment as to the search of the USB drive is negated.
Therefore, defendants move for dismissal based on qualified immunity as to the
search of the USB drive.

As defendants did have probable cause and a verified Search Warrant
and, under the applicable objective standard, a prudent officer would believe
that probable cause had been established by the totality of the investigation,
defendants are entitled to qualified immunity. United States v. Bernard, 51 £.3d
1531, 1536 (LOth Cir. 1995).

WHEREFORE, Defendants Sanchez, McCall, and Jamison respectfully move
for summary judgment and dismissal of the claims arising from the search of
the residence and USB drive and for such further relief deemed just under the
circumstances.

Respectfully submitted:
POTTS & ASSOCIATES

“Electronically filed”

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By:_/s/Amy L. Glasser
AMY L. GLASSER
6001 Indian School Rd. NE #100
Albuquerque, NM 87110
Telephone: 505-889-5252
Facsimile: 877-365-8043
Attorney for Defendants

I HEREBY CERTIFY that on January 28, 2014,

I filed the foregoing pleading electronically through

the CM/ECF system, which caused the following

parties or counsel of record to be served by electronic or other
means, as more fully reflected on the Notice of Electronic Filing:

Christian Hatfield, Esq.

Tucker, Burns, Yoder & Hatfield
105 N. Orchard Ave.
Farmington, NM 87401
christian@tbylaw.com

/s/ Amy L, Glasser
AMY L. GLASSER

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

WEI LU,
Plaintiff,
vs. No. 1:13-CV-00531 WPL/ACT
KEN CHRISTESEN, Individually and in his official
capacity as San Juan County Sheriff,
SAN JUAN COUNTY SHERIFF'S OFFICE,
ALAN JAMISON, Individually and in his official capacity,
JACOB SANCHEZ, Individually and in his official capacity,
DAVID McCALL, Individually and in his official capacity,

Defendants.

AFFIDAVIT OF THE HONORABLE SANDRA A. PRICE

I, Sandra A. Price, affirm that I am over the age of eighteen, am competent to
make this affidavit, and do so based on my personal knowledge.

1. Iam Sandra A. Price, District Judge in the 11% Judicial District, State of
New Mexico.

2, {am not a party to this matter.

3. In October, 2012, I became aware of an investigation by the San Juan
County Sheriffs Department of Wei Lu and the business known as Asian Massage,
located in Farmington, NM.

4, On October 30, 2012, I received from Deputy Dave McCall two Affidavits
for Search Warrant. One Affidavit was in regard to issuance of a Search Warrant for
the business known as Asian Massage, owned by Wei Lu and for the vehicle also
owned by Wei Lu. The other Affidavit was in regard to the issuance of a Search
Warrant for the residence of Wei Lu located at 510 Wall Street, Apt. A 8, Farmington,

NM.

DHT

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5, The Affidavits for Search Warrants that I reviewed are attached to this,
my Affidavit, as Exhibit “1”.

6. I personally reviewed the Affidavits submitted by Detective McCall, along
with the Search Warrants, and determined that probable cause did exist and
therefore, I issued both Search Warrants and returned therm to Detective McCall via
facsimile. The Search Warrants signed by me are attached as Exhibit “2”.

4. While faxing the Search Warrants back to Detective McCall, I experienced

some technical difficulty. In regard to the Search Warrant related to the residence,
only my signature page was transmitted, The first page of the Search Warrant for the
residence did not contain any notations, changes, instructions, or comments by me
and, therefore, I considered Detective McCall and his team to have received an
executed and fully valid Search Warrant of the residence.

8. I have reviewed the Search Warrant Inventory Sheet completed on
October 31, 2012 by Detective McCall and confirm that the items seized are consistent
with the Search Warrant issued by me for the search of the residence and that all
items seized were permitted by the Search Warrant, including seizure of the DVR and
computer hard drive.

9, On November 13, 2012, I received an Affidavit for Search Warrant from
Deputy Sheriff Jacob Sanchez in regard to issuance of Search Warrant regarding items
found and seized at the residence on October 31, 2012, including computers, USB
hard drive and DVR on the basis that these items may contain documentation related
to illegal business activities.

10. Based on the Affidavit for Search Warrant presented by Deputy Sheriff
Sanchez, I determined that there was probable cause and that grounds existed for the

issuance of the Search Warrant and IJ did issue the Search Warrant on November 13,

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2012. Deputy Sanchez’s Affidavit and the Search Warrant issued by me are attached
as Exhibit “3”.

11. While I do not know why the first page of the Search Warrant related to
the search of the residence issued by me on October 30, 2012 was not filed with the
Court, I can and do attest and affirm that I did issue a valid Search Warrant,
consistent with the language presented in the Affidavit for Search Warrant by
Detective McCall, and that the Search Warrant Inventory Sheet that was filed with the
Court following the search of the residence located at 510 N, Wall #8, Farmington, NM

does identify items that were subject to the Search Warrant.

FURTHER AFFIANT SAYETH NOT.

ONORABLE SANDRA A, PRICE
DISTRICT COURT JUDGE

Subscribed and sworn to or declared and
Affirmed to before me in San Juan County,
State of New Mexico, this 28th day of
January, 2014.

_ Judge, Notary, or Other Officer
Authorized to Administer Oaths

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IN THE DISTRICT COURT FILED

COUNTY OF SAN-JUAN ann we a

STATE OF NEW MEXICO dil? NOV ~2 ALI: 47

STATE OF NEW MEXICO,

Plaintiff,

vs , No. Oil lg Cw polotl4¢

203 S. Orchard, Farmington, NM
Defendant, 5

2011 Gray Mazda bearing NM license number 426RHG (VIN # JMIBLIU62B 1482505)

Defendant.

AFFIDAVIT FOR SEARCH WARRANT

Affiant, being duly sworn upon his oath, states that I have reason to believe that i in the following
described business:

Asian Massage, 203 S. Orchard, Farmington, NM

The building is a red brick building with two doors facing S, Orchard Ave. It has a red and white
painted sign above the doors with the name of the business printed in block letters (Asian
Massage). The front door faces to the east, and there is no back door.

A gray 201 | Mazda beating, NM license mumber 426RHG (Vv IN #JMIBL! U62B1482505) is
parked in the back parking lot. It was driven to the business by Wei Lu, the owner of Asian
Massage.

Jtems that are sought at 203 S. Orchard or in the 2011 Mazda bearing NM license number 426
RHG include:

Evidence of License or registration required, such as:

Lack of a license to provide massage. therapy for compensation, books or ledgers confirming that
massages took place at the business

Evidence of prostitution, such as:

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Condoms, Lubricant, Ledgers, books, or documentation. of prostitution transactions.
Instruction manuals from the Chinese language to English describing sexual acts.
Large amounts of cash from the carnings of prostitution,

The facts tending to establish the foregoing grounds for issuance of this Search Warrant are as
follows.

{am Dave McCall, a full-time, commissioned, salaried, and licensed police officer for the State
of New Mexico, presently working as a Deputy for the San Juan County Sheriff's Office,
assigned to the Special Enforcement Team. I have been a peace officer for approximately three
years and have received training in and have experience investigating a range of feloiy crimes. I
an the affiant herein. I learned the following facts ftom the sources noted and the investigation

described.

In August of 2012, the San Juan County Special Enforcement Team (SET) received information
that the Asian Massage parlor directly south of KB Dillon’s restaurant in Farmington was
possibly a house of prostitution.

The SET team set up a prolonged surveillance operation on the Asian Massage parlor to gather
information on the clientele that frequented the establishment. As a result of the surveillance, the
SET team was able to establish that the clientele for the Asian Massage parlor consisted entirely

of male subjects.

The SET team learned that the business was owned by an Asian female named Wei Lu. Wei Lu
also is listed as leasing apartment.#8 in an apartment complex at 510 Wall St. in Farmington. Her -
vehicle, a 2011 Mazda bearing NM license number 426RHG has been seen at the Asian Massage
patlor and the apartment at 510 Wall St.

Two Asian women who perform massages at Asian Massage have been identified as Li Jiang
(d.o.b, of 08/08/1977) and Xiang Yu Xie (d.o.b. of 04/01/1955), Both women reside in
Apartment #8 at 510 Wall Street, Neither of the women has reported an income in 2012,

Both women have been observed numerous times walking from 510 Wall St, #8 to the Asian
Massage parlor before work, They have also been observed walking home fiom the Asian.
Massage parlor te 510 Wall after work. Neither woman has been observed walking to ot from
any other business or residence in Farmington during the surveillance.

On September 04, 2012, a silver / gray Mazda passenger cat bearing NM license plate number
426RHG was seen parked in front of the Asian Massage parlor. An unidentified female entered
the vehicle and drove to Wal Mart West in Farmington, where she purchased supplies with a
credit or debit card, and then returned to Asian Massage at 203 8. Orchard, where the
unidentified Asian female unloaded the supplies. The female then entered the Mazda and drove

to $10 Wall Street in Farminigton.

On September 06, 2012, Deputy Sanchez and I attempted to gather information on the Asian

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Massage parlor at 203 S. Orchard in Farmington.

At 1717 hours Deputy Sanchez and I entered the establishment in an attempt fo procure
massages. Upon entering the front door, we were met by an Asian woman wearing a pink shirt.
She appeared to be approximately 50 years of age, and had medium length black hair, She
invited me into another room and we stood next to a massage table. The woman spoke very
broken English, and it was difficult to communicate with-her.

The woman said that $60 went to the owner of the business, and then she said “I work for you.” I
did not understand what that meant, and J asked her. She said “I work for you for “Teepo.”” I
asked her what “Teepo” meant. She put her hand in front of her chest with the fingers of her left
hand bent, as if she were grasping a cylindrical object, and pumped her hand up and down in
front of her face, saying “Teepo, I work for Teepo.” I asked her if she meant that she worked for
tips. She said “Yes, Teepo, Tip” while she continued to make the pumping motion. From my
training, ] know that the pumping motion is meant to convey masturbation,

I told the woman that I only had $60 and did not have enough for a tip. I then asked her if she
accepted credit cards, she said that she did not. [told her that I was going to go speak to “my

friend” in the lobby.

I went into the lobby and spoke with Deputy Sanchez. We agreed that J would give him my $60,
so he would have enough money for a massage and a tip. [ then exited the building and joined
Sergeant Jamison in his patrol unit and monitoved the listening device that Deputy ‘Sanchez had
in his pocket. I exited the Asian Massage parlor at 1721 hours.

The woman that I spoke to at Asian Massage was later identified as Xiang Yu Xie.

_ The following account is a a report submitted by Deputy Sanchez for the evening of September 06,
2012:

On September 6, 2012 Deputy Dave McCail and Iivent fo the Asian Mas: sage Par lor iat 203
South Orchard in Farmington in an undercover status, We were both wearing plain clothes and
had investigative funds to attenipt to get a massage with a "happy ending" which from our
investigation was a “hand job". We each had $60 cash (3, $20 bills) and the serial numbers had
been photocopied prior to us arriving at the parlor,

Ai approximately 1715 hours we went into the shop and a asian female wearing a pink shirt a
black capri style pants greeted us. We advised her we wanted massages and she took McCall
back first. The windows are covered with very dar k shades and you cannot see out of the parlor
while inside or see in while walking up. There were two chairs on the north side of the waiting
room with a magazine stand in between them. There were multiple Maxim magazines on the
stand and the lighting was low and there was music playing quietly in the background.

Isat waiting for approximately 3 or so minutes and McCall and the asian female came back.
McCall stated the cost was 360 for the owner and the masseuses worked for tips so he then

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handed me his money and left the parlor. The female then took me back through a curtain and
we turned south (left) down a halhway and passed one room and went to the last room in the
hallway. You entered the room through a door and there was a massage table in the middle.of
the room. There was a hook on the wail as soon as you walked into the reont on the right and
the asian female told me to put my clothes there and lie down. She then left the room and I got
down to niy underwear and layed down on my stomach.

She then came back into the room and started the massage. She kept asking if my buddy
(McCall) was going to the bank and coming back for a period of time and I kept telling her it
was probably across town and it would take awhile. She asked nultiple times if 1 liked the
massage and would just smirk everytime I said "Yes". She then asked if I was married and I told
her yes (vas wearing my wedding ving) and she stated Invas young. Lasked her how old she
thought Iwas and she stated "24". I told her Iwas 25 and she kept going with the massage.

Tasked her where she was from and she told me from China and she had been here for Jour
months now. She went to Los Angeles and then came here. I asked her what her name was and
she stated "Tina". Iremeniber from an erotic massage web site that one on the massetses was
Tina from the Asian Massage Parlor. She asked what I did and I told her worked in the
oilfield. At the end of the massage she did not solicit anything at this time but she did say for me
fo come back to her for a “really good time” next time. I then left the parlor after paying the $60
fee and a $20 tip at approximately 1815 hours, I then gave Sgt Jamison the other 540 so if
could be put back with the investigative fund,

On October 10, 2012, at approximately 1935 hours, I entered the Asian Massage parlor at 203 5.
Orchaed with the intent of gaining probable cause that prostitution is being conducted at the
establishment. I went in with a digital wire (a listening device that was being monitored by other
San Juan County Sheriff's Office personnel) and an Olympus digital recorder.

I was met at the door by an Asian female who has been identified as Li Jiang. I spent a moment
inthe lobby / waiting area, looking for a Massage license for the establishment, because in my
training I had learned that a Massage license must be displayed in a conspicuous place for
customers to examine. I had also learned that the individual employees who perform massages
must display a license in a place that was visible from their workspace.

Li Jiang led me into a room that was adjacent to the waiting room and instructed me to remove
my clothing and lay on the massage table. She told me that the massage cost $60 for one hour. I
pulled a wad of money out of my trousers and peeled $60 off and gave it to her. Li Jiang saw
that I still had a considerable amount of cash in the roll.of money, She left the room and I
removed my outer clothing, leaving my boxer shorts on. As I disrobed, I inspected the massage
room, and did not find a massage license for Li Jiang, I arranged my clothing so that the digital
wire was in my shirt pocket on top of a chair, and my Olympus digital recording device was in

the back pocket of my trousers.

Li Jiang came back into the room and I lay down on the massage table face down. She grabbed
the waistband of my boxer shorts and attempted to pull them down, As she tried to remove my

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shorts, she said “You take off.” Lreached back and pulled my underwear back up and told her
that I wanted to keep my underwear on, She asked why, and I said “I’m shy. ”- Li Jiang then
placed a white towel on my back and began the massage.

Approximately 20 minutes and 30 seconds from the time I began recording (as measured by the
timer on the Olympus digital recording device) Li Jiang asked “You want Happy?” T asked
“What?” and she repeated “You want Happy?” I asked “Happy ending?” At this point Li Jiang
made a stroking motion with her left hand. I know from training and experience that this motion
was meant to mean that she wanted to manually stimulate my genitals. I recognized the
masturbation of another as a sexual act as defined in the statute for prostitution. I asked her “You
would do that?” and she nodded in the affirmative and put her finger to her lips to motion me to
be quiet. She leaned close fo my ear and said “For you.” Lasked her how rauch that cost, and.
she did not reply. [ asked “Do you do that for a tip?” She giggled and said “Yes.”

The massage continued while I was lying on my stomach. After a time, I mentioned the pre-
arranged word, and Set. Jamison sent ine a text message. I told Li Jiang that the message was
from my boss, and there was an emergency at work, and I would have to leave immediately. Li
Jiang told me that she would give me $20 back because I had not been massaged for the entire
hour. I told her to keep the money as a tip.

Li Jiang exited the massage room and I put my outer clothing-back on. She gave me a bottle of
water and I exited the Asian Massage parlor.

The following account is a report submitted by Deputy Sanchez from October 10, 2012:

On October 10, 2012 at approximately 1900 hours I entered the Astan Massage Parlor at 203 S
Orchard in Farmington attempting to solicit prostitution from the older female by the name of
Xiang Yu Xie. From my last “massage” I knew her as “Tina”. Iwas carrying a digital wire in
my right front pocket and had my Olympus digital recorder on in my left front pocket. As Iwas
walking in from the south side of the business Tobserved “Tina” outside and she followed me
into the business.

As I opened the door she greeted me and seemed fo remember me from the last time I had went
in. We had a small conversation about how things were going and she then took me back to the
same roont as last time on the south east corner of the shop. I told her I wanted an hour again
and she stated that was fine. I pulled aut the $200 in department issued funds and counted $60
in front of her so she could see the amount of cash Iwas carrying. I gave her $60 and she left
the room so 1 could get undressed and lay down on the massage table.

“Tina” came in a couple ininutes later and stated I could have a 30 minute massage in broken
English because they had appointments coming in. The other employee then came in while
“Tina” was speaking with me and they had a conversation about the appointment again in some
Mandarin Chinese and broken English. The other female has been identified as Li Jaing from
our operation a couple weeks ago as well. Jaing then left the room and “Tina” started with the

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During the massage “Tina” left for a moment and came back in and told me I could have an
hour massage because an appointment didn’t show up and Lagreed. During the massage I small
talked with her about a boyfriend and what she does for fin. The entire massage.went for 335
minutes and 32 seconds on my digital recorder. At approximately 26 minutes and 40 seconds I
asked her about a “massagee” and gave her a hand sign for a “handjob”. At first she stated
she didn’t understand and I kept giving her the “hand job” sign with my hand by inoving it up
and down. She then asked if I wanted one and I told her I did. I then asked he how much by
holding my fingers up with 3, 4, and 5 fingers meaning $30, $40, or $50. She then-stated very
quietly $66 and held her finger over her mouth as io be quiet.

I then spoke with her for a couple of minutes and then gave the verbal sign that I have been
solicited and that was the word “baseball”, After a couple af minutes I didn't get a phone call
that was supposed to mean get out from Sgt Jamison so { text him the word baseball and he then
fext me telling me to get home now, I told “Tina” I had to get back to work or I-would get fired
and got up to get dressed. I told her I would be back and she walked me out and I left the area.

\ . .
On October 30, 2012, the San Juan County Sheriff's Office SET team entered the Asian Massage
at 203 S. Orchard in Farmington. Deputy Sanchez observed Wei Lu arrive in a gray 2011 Mazda
bearing NM license number 426RHG. When the SET team arrived, a Caucasian male was inside
one of the massage rooms. The male identified himselfas Lynn Horrocks, He told me that he
came to the Asian Massage parlor the previous night (October 29, 2012) and received a massage:
from one of the women at the massage parlor. Lynn said that it was the female who was sitting
in the front room of the building. The SET team had previously identified that woman as Li

Jiang.

Lynn said that during his massage with Li Jiang on October 29, she performed a “Happy Ending”
on him. Lynn said that he returned to the business on October 30, and Li Jiang met him at the
door. He asked if “The other girl” was available, and Li Jiang told him that she would be back in
“ approximately 20 minutes. Lynn said that he read some e-mails for a while, and then “The other
girl” arzived at the Asian Massage parlor. “The other girl” was also still present at the massage
patlor, and she identified herself as Wei Lu.

Lynn said that he arranged for a one hour massage with Wei Lu, and gave her $60, He said that
he was in the process of disrobing when the SET team arrived, and he had removed his shixt, but
his trousers were still on. Lynn went on to say that he had not had the opportunity to discuss a
“Happy Ending” with Wei Lu.

Deputy Sanchez conducted an interview with Li Jiang on October 30, 2012. During that
interview, Li Jiang told Deputy Sanchez that she signed a contract with Wei Lu when she began
to work for her. She said that the contract stated that she (Li Jiang) would not conduct any
sexual acts at work. Li Jiang also said that she was told by Wei Lu that the contract was to
protect the business, and that any sexual acts that were performed were to be at Li Jiang’s °
discretion and that if the employees got into any trouble, they had performed and individual

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has been itanslated fram the original languass to English

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vent on to sax that Wei Ju told her that it was well know

gction at their own digexetion. She y
yal in a3ture. ond that she (Li Jiang) needed to "Keep the

ibal Asin Massage parlois were sex
vlistomers happy.”

fam aware that Oriental Massage parlors frequently have @ boak on the
oc manager. Such books frequently contain material that
_ Sume things that are commonly found

inn these books are English phrases (hat alow the massage employees to communicate sexual acts

io their cuslumers.

From my taining,
prentises that is sveittent by the aWHE!

Lam alae aware from any Lraining, that cush lise crirainal activity is frequently sieved ta lovkedl
bax ar «sale at the business or cesidence uf tie employees of such an estublightnent,

L helieve thal evidence of License o1 Registration Required as well as legal prostitufion and
possibly large amounts of cash could be sraured inthe Asian Massage building at 203 8,
Orelurd, or possibly in the gray Mazda dud is perked outside the business,
Rased on the above infurmation, | mspectfully request this Court to issue a search warrant Tor the
above-listed location ty xewrch far and seize (he above-cescribed documents.

fp KJ {

Dave MeCall
Complainant

anes

Deputy
Title (Lf any)

APPROVED:
‘Talephonically appreved by Brent
Capshaw

Assistant/Depuly District Attomey

. . .
on * .
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Subscribed aud sworn lo or declared and
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Stalg.of New Mexico, this-27°% day of

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Fudge, ‘Notary. ot Other Officer
Authorized to Admintater to Oaths

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DISTRICT COURT go
SAN JUAK COUNTY RM
IN THE DISTRICT COURT RILED

COUNTY OF SAN JUAN . oe
STATE OF NEW MEXICO 202 NOY -2 ARIE 4
STATE OF NEW MEXICO,

Plaintiff,

VS. No. Dolly: SW-201 2-3 4

510 Wall Street Apt #8

Defendant,
ARVIDAVIT FOR SEARCH WARRANT |

Affiant, being duly sworn upon his oath, states that I have reason to believe that in the following
described business:

510 Wall Street Apt. #8

’ The building is a blue two story apartment building at'510 Wall Street. Apartment number 8 is
the second door from the left on the second story of the building. The apartment doors face to
the south. A gold colored number 8 is'secured to the door of the apartment.

Items that are sought at 510 Wall Street apartment #8 include:

Evidence of prostitution, such as:

Condoms, Lubricant, Ledgers, books, or documentation of prostitution transactions.
Insirnction manuals from the Chinese language to English describing sexual acts.
Large amounts of cash from the earnings of prostitution.

The facts tending to establish the foregoing grounds for issuance of this Search Warrant are as
follows,

Iam Dave McCall, a full-time, commissioned, salaried, and licensed police officer for the State
of New Mexico, presently working as a Deputy for the San Juan County Sheriff's Office,
assigned to the Special Enforcement Team. I have been a peace officer for approximately three
years and have received training in and have experience investigating a range of felony crimes. I
am the affiant herein. I learned the following facts from the sources noted and the investigation

described.

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In August of 2012, the San Juan County Special Enforcement Team (SET) received information
that the Asian Massage parlor directly south of KB Dillon’s restaurant in Farmington was
possibly a house of prostitution.

The SET team set up a prolonged surveillance operation on the Asian Massage parlor to gather
information on the clientele that frequented the establishment, As a result of the surveillance, the
SET team was able to establish that the clientele for the Asian Massage parlor consisted entirely

of male subjects.

The SET team learned that the business was owned by an Asian female named Wei Lu. Wei Lu
also is listed as leasing apartment #8 in an apartment complex at 510 Wall St. in Farmington. Her
vehicle, a 2011 Mazda bearing NM license number 426RHG has been seen at the Asian Massage

parlor and the apartment at 510 Wall St.

Two Asian women who perform massages at Asian Massage have been identified as Li Jiang
(d.o.b, of 08/08/1977) and Xiang Yu Xie (d.o.b. of 04/01/1955). Both women reside in
. Apartment #8 at 510 Wall Street. Neither of the women has reported an income in 2012.

Both women have been observed numerous times walking from 510 Wall St. #8 to the Asian
Massage parlor before work. They have also been observed walking home from the Asian
Massage parlor to 510 Wall after work, Neither woman has been observed walking to or from
any other business or residence in Farmington during the surveillance,

On September 04, 2012, a silver / gray Mazda passenger car bearing NM license plate number
426RHG was seen paiked in front of the Asiari Massage parlor. An unidentified female entered
the vehicle and drove to Wal Mart West in Farmington, where she purchased supplies with a
credit or debit card, and then returned to Asian Massage at 203 S. Orchard, where the
unidentified Asian female unloaded the supplies. The female then entered the Mazda and drove

to 510 Wall Street in Farminigton.

On September 06, 2012, Deputy Sanchez and | attempted to gather information on the Asian
Massage parlor at 203 S. Orchard in Farmington.

At 1717 hours Deputy Sanchez and I entered the establishment in an attempt to procure
massages, Upon entering the front door, we were met by an Asian woman wearing a pink shitt.
She appeared to be approximately 50 years of age, and had medium length black hair. She
invited me into another room and we stood next to a massage table. The woman spoke very
broken English, and it was difficult to communicate with her.

The woman said that $60 went to the owner of the business, and then she said “I work for you.” I
did not understand what that meant, and Tasked her, She said’ “I work for you for “Teepo.”” J
asked her what “Teepo” meant. She put her hand in front of her chest with the fingers of her left
hand bent, as if she were grasping a cylindrical object, and pumped her hand up and down in
front of her face, saying “T'eepo, I work for Teepo.” T asked her if she meant that she worked for
tips. She said “Yes, Teepo, Tip” while she continued to make the pumping motion, From my
training, I know that the pumping motion is meant to convey masturbation,”

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L told the woman that J only had $60 and did not have enough for a tip. I then asked her if she
accepted credit cards, she said that she did not. I told her that I was going to go speak to “my

friend” in the lobby.

I went into the lobby and spoke with Deputy Sanchez. We agreed that I would give him my $60,
so he would have enough money for a massage and a tip. I then exited the building and joined
Sergeant Jamison in his patrol unit and monitored the listening device that Deputy Sanchez had
in his pocket. J exited the Asian Massage parlor at 1721 hours.

The woman that I spoke to at Asian Massage was later identified as Xiang Yu Xie.

The following account is a report submitted by Deputy Sanchez for the evening of September 06,
2012:

On September 6, 2012 Deputy Dave McCall and Iwent.to the Asian Massage Parlor at 203
South Orchard in Farmington in an undercover status. We were beth wearing plain clothes and
had investigative finds to atfempt to get a massage with a “happy ending" which from our
investigation was a “hand job". We each had $60 cash (3, $20 bills) and the serial numbers had

been photocopied prior to us arriving at the parlor.

At approximately 1715 hours we went into the shop and a asian female wearing a pink shirt a
black capri style pants greeted us. We advised her we wanted massages and she took McCall

” back first. The windows are covered with véry dark shades and you cannot see out of the parlor
while inside or see in while walking up. There were hyo chairs on the north side of the waiting
room with a magazine stand in between them. There were multiple Maxim magazines on the —
stand and the lighting was low and there was music playing quietly in the background.

I sat waiting for approximately 3 or so minutes and McCall and the asian female eante back.
McCall stated the cost was $60 for the owner and the masseuses worked for tips so he then
handed ine his money and left the parlor. The female then took me back through a curtain and
we turned south (left) down a hallway and passed one room and went to the last room in the
halhvay. You entered the room through a door and there was a massage table in the middle of
the room. There was a hook on the wall as soon as you walked into the room on the right and
the asian Jemale told me to put my clothes there and lie down, She then left the room and I got
down to my underwear and layed down on my stomach.

She then came back into the room and started the massage. She kept asking ifmy buddy
(MeCal}} was going to the bank and coming back for a period of time and J kept telling her it
was probably across town and it would take awhile. She asked multiple times if I liked the
massage and would just smirk everytime Isaid "Yes" She then asked if] was married and J told
her yes (vas wearing my wedding ring) and she stated Invas young. I asked her how old she
thought Iwas and she stated "24". Ttold her Iwas 25 and she kept going with the massage,

ft asked her where she was from and she told me from China and she had been here for four

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inonths now, She went to Los Angeles and then came here. Lasked her what her name was and
she stated "Tina". Iremember from an erotic massage web site that one on the masseuses was
Tina from the Asian Massage Parlor. She asked what I did and I told her I worked in the
oilfield, At the endof the massage she did not solicit anything at this time but she did say for me
to come back to her for a “really good time” next time. I then left the parlor after paying the $60
Jee and a $20 tip at approximately 1815 hours. I then gave Sgt Jamison the other $40 so it
could be put back with the investigative fund.

On October 10, 2012, at approximately 1935 hours, I entered the Asian Massage parlor at 203 8.
Orchard with the intent of gaining probable cause that prostitution is being conducted at the
establishment. I went in with a digital wire (a listening device that was being monitored by other
San Juan County Sheriff’s Office personnel) and an Olympus digital recorder.

T was met at the door by an Asian female who has been identified as Li Jiang. I spent a moment
in the lobby / waiting area, looking for a Massage license for the establishment, because in my

training I had learned that a Massage license must be displayed in a conspicuous place for
customers to examine, J had also learned that the individual employees who perform massages
must display a license in a place that was visible from their workspace.

Li Jiang led me into a room that was adjacent to the waiting room and instructed me to remove
my clothing and lay‘on the massage table. She told me that the massage cost $60 for one hour. I
pulled a wad of money out of my trousers and peeled $60 off and gave it to her. Li Jiang saw —
that I still had a considerable amount of cash in the roll of money, She left the room and I

’ yemoyed my outer clothing, leaving my boxer shorts oft. As I disrobed, | inspected the massage

room, and did not find a massage license for Li Jiang. I arranged my clothing.so that the digital
wire was in my shirt pocket on top of a chair, and my Olympus digital recording device was in
the back pocket of my trousers. —

Li Jiang came back into the room and I lay down on the massage table face down, Shé grabbed
the waistband of my boxer shorts and attempted to pull them down, As she tried to remove my
shorts, she said “You take off.” [reached back and pulled my underwear back up and told her
that I wanted to keep my underwear on, She asked why, and I said “Pm shy.” Li Jiang then
placed a white towel on my back and began the massage.

Approximately 20 minutes and 30 seconds from the time J began recording (as measured by the

timer on the Olympus digital recording device) Li Hang asked “You want Happy?” I asked

“What?” and she repeated “You want Happy?” I asked “Happy ending?” At this point Li Jiang
made a stroking motion with her left hand. I know from training and experience that this motion —
was meant to mean that she wanted to manually stimulate my genitals, I recognized the
masturbation of another as a sexual act as defined in the statute for prostitution. Lasked her “You
would do that?” and she nodded in the affirmative and put her finger to her lips to motion me to
be quiet. She leaned close to my ear and said “For you,” I asked her how much that cost, and
she did not reply. I asked “Do you do that for a tip?” She giggled and said “Yes.”

The massage continued while I was lying on my stomach. After a time, I mentioned the pré-

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arranged word, and Set. Jamison sent me a text message. I told Li Jiang that the message was
from my boss, and there was an emergency at work, and I would have to leave immediately. Li
Jiang told me that she would give me $20 back because I had not been massaged for the entire

hour. J told her to keep the money as a tip.

Li Jiang exited the massage room and I put my outer clothing back on. She gave me a bottle of
water and I exited the Asian Massage parlor.

The following account is a report submitted by Deputy Sanchez from October 10, 2012:

On October 10, 2012 at approximately 1900 hours I entered the Asian Massage Parlor at 203 S
Orchard in Farmington attempting to solicit prostitution from the older female by the name of
Xiang Yu Xie. From my last “massage” I knew her as “Tina”, Iwas carrying a digital wire in
my right front pocket and had my Olympus digital recorder on in my left front pocket. As Iwas
walking in from the south side of the business I observed “Tina” outside and she followed me

info the business... . . . .

As I opened the door she greeted me and seemed to remember me from the last time I had went

in. We had a small conversation about how things were going and she then took me back te the -

same room as last time on the south east corner of the shop. I told her Iwanted an hour again

and she stated that was fine. I pulled out the $200 in department issued funds and counted $60

in front of her so she could see the amount of cash Iwas carrying. I gave her $60 and she left
the room so I could get undressed and lay down on the massage table,

“Tina” came in a couple minutes later and stated I could have a 30 minute massage in broken
English because they had appointments coming in. The other employee then came in while
“Tina” was speaking with me and they had a conversation about the appointment again in sojne
Mandarin Chinese and broken English. The other female has been identified as Li Jaing from
our operation a couple weeks ago as well. Jaing then left the room and “Tina” started with the

massage.

During the massage “Tina” lefi for a moment and came back in and told me I could have an

_ hour massage because an appointment didn’t show up and I agreed, During the massage I small
talked with her about a boyfriend and what she does for fun. The entire massage went for 35
minutes and 32 seconds on my digital recorder, At approximately 26 minutes and 40 seconds I
asked her about a “massagee” and gave her a hand sign for a “handjob”. At first she stated
she didn't understand and I kept giving her the “hand job” sign with my hand by moving it up
and down. She then asked if I wanted one and [told her I did. I then asked he how much by
holding my fingers up with 3, 4, and 5 fingers meaning $30, $40, or $50. She then stated very
quietly $60 and held her finger over her mouth as to be quiet.

I then spoke with her for a couple of minutes and then gave the verbal sign that I have been
solicited and that was the word “baseball”. After a couple of minutes I didn’t get a phone call
that was supposed to mean get out from Sgt Jamison so I text him the word baseball and he then
text me telling me to get home now. I told “Tina” I had to get back to work or Iswould get fired

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and got up to get dressed. I told her Iwould be back and she walked me out and J left the area.

\
On October 30, 2012, the San Juan County Sheriff's Office SET team entered the Asian Massage

at 203 $, Orchard in Farmington. When we arrived, a Caucasian male was inside one of the
massage rooms. The male identified himself as Lynn Horrocks.. He told me that he came to the
Asian Massage parlor the previous night (October 29, 2012) and received a massage from one of
the women at the massage paclor. Lynn said that it was the female who was sitting in the front
room of the building. The SET team had previously identified that woman as Li Hang.

Lynn said that during his massage with Li Jiang on October 29, she performed a “Happy Ending”
on him. Lynn said that he retuned to the business on October 30, and Li Jiang met him at the
door. He asked if“The other girl” was available, and Li Jiang told him that she would be back in
approximately 20 minutes. Lynn said that he read some exmails for a while, and then “The other
girl” arrived at the Asian Massage parlor. “The other gin!” was also still present at the massage
parlor, and she identified herself as Wei Lu, — .

Lynn said that he arranged for a one hour massage with Wei Lu, and gave her $60. He said that
he was in the process of disrobing when the SET team arrived, and he had removed his shirt, but
his trousers were still on, Lynn went on to say that he had not had the opportunity to discuss a
“Happy Ending” with Wei Lu.

Deputy Sanchez conducted an interview with Li Jiang on Octaber 30, 2012. During that
‘interview, Li Jiang told Deputy Sanchez that she signed a contract with Wei Lu when she began
to work for her. She said that the contract stated that she (Li Jiang) would not conduct any
sexual acts at work, Li Jiang also said that she was told by Wei Lu that the contract was to
protect the business, and that any sexual acts that were performed were to be at Li Jiang’s
discretion and that ifthe employees got into any trouble, they had performed and individual
action at their own discretion, She went on to say that Wei Lu told her that it was well known
that Asian Massage parlors were sexual in nature, and that she (Li Jiang) needed to “Keep the

customers happy.”

Li Jiang also told Deputy Sanchez that the earnings from the illegal prostitution were at her
residence, 510 Wall Street apartment #8.

From my training, I am aware that Oriental Massage parlors frequently have a book on the
premises that is written by the owner or manager, Such books frequently contain material that
has been translated from the original language to English. Some things that ave commonly found
in these books are English phtases that allow the massage employees to communicate sexual acts

to their customers.

Tam also aware from my training, that cash from criminal activity is frequently stored in a locked
box or a safe at the business or residence of the employees of such an establishment.

I believe that evidence of illegal prostitution and possibly large amounts of cash could be secured

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UE 0 Soaroh ware, :
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Dave MoCall phil
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Complainant

oe Deputy
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. APPROVE):
Approved Telephoniealty by Brent Capshavy .

Assisiant/Doputy Disilot Attorney

Subscribad and sworn to or declared and
affirmed to before me in sear County,

State of Mowsico, thig: 5 day of
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ASTRICT COURT
. SAN UAN COUNTY RM
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IN THE DISTRICL COURT a
COUNTY OF SAN JUAN 700 KEN -2 AA 4
STATE OF NEW MEXICO

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Plaintizl.

v3. Na. DI Ll “SW “201 er | UY

203 S. Orchard, aemington, NM

201] Gray Mazda hearing NM ficense number 426RHG

Defendant.
SEARCH WARRANT

‘THE STATE OF NEW MEAICO

TO ANY QEPICER AUTHORIZED TO LSECUTE ‘THIS WARRANT:
Proat by Affidavit for Search Warrant. having heen submitted (o axe, Lam satisfied that there is
probable cause that the person Hamed arpreperty described in the Affidavit is located where.
alleged in the Affidavit and 1 find that prounds exist for (he issuance of the Search Warrant. A
copy of the Aflidavil ts alached and made a pat of this Warrant, YOU ARE UEREBY
COMMANDED to search farthwith the person or place deseribed mm the Affidavit between [ic
hours of 6:00 aa, and 10:00 p.m., unless [ specifically authorized a nighttime search, for the
person or properly deserihed in the Affidavit, serving this Wartant together with a copy of the
Affidavit, and making the search aad if the pean or property be found there, to seize the person
or property and bold for safekeeping until further arcder of the court,

Condams, Lubricant. Ledgers, bouks. or documentation of prastitution frausactions.
Instruction ovanuals from the Chinese languaie to Finplish describing sexual acts.
Lacge ainourits of cash roti the earnings of prostitution. ° ’

You are farther directed to prepare a written inventory of any person or property scized.. You are
fther directed to fife the return and writes: inventory with tie Court promptly after its
execution,

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RETURN AND INVENTORY

Lreceived the attached Search Warrant on d@vaséq 20 _s,cina, atid eMécilted {t on
Otyoegy 3 |, 2012, at Hit o’clock{amA(p.m.). I searched the person or premises described in
the warrant and I left a copy of the warrant with _ THe BUSICHES
together with a copy of the inventory for the items seized.

The following is an inventory of property taken pursuant to the warrant.
Soe pyTiee> DO bUNET

‘This inventory was made in the presence of _ A”? MARIA.
(name of applicant for the search warrant)

and —
(name of owner of premises or property or other credible person witnessing the inventory).

This inventory is a true and detailed account of all property taken pursuant to the warrant.

Signature of officer

LIE figor

Signature of owner of property or other
witness

Return made this day of __, 2012, at (a.m.) (p.m.)

Judge/Clerk

*

“ After careful search, I could not find at the place or the person described, the property

described in this warrant.

Date Officer bs o

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wit Case '1:13-4)4083429MPL-LAM Document 47 Filed 01/28
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The following is an inventory of Property taken pursuant to the Werrant

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This inventory was mado jn the presence of DAV? ALi, pis
(name of ap plicant for the search warrant)

© Credible person witnessing the inventory),

This im

ventory is a tene and detailed account of all property taken pursuant to the wacrant,

i

Signature of offices

LL C52
ignature of Owner of properly oy other

Witness

Return mado this day of ‘2012, at (a.m.) (p.m.)

Jndge/Clenk

After careful search, I could not find at the pl

ace or the person described, the praperty
deseribed in this warrant,

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Date Officer

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San Juan County

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Sher iff’ § Office

Page |

Search Warrant Inventory Sheet

of Pages

Date: rf $f / 2.

Time Started: ag: {4H MAM O PM

Time Ended: O04. / {AM OPM

Item # Item Description te Location Recovered By Time
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IN THE MAGISTRATE COURT
COUNTY OF SAN JUAN
STATE OF NEW MEXICO

STATE OF NEW MEXICO,
Plaintiff,

VS. No.

Wei Lu

DOB: 1/7/64

LKA: 510 N Wall #A8 Farmington, NM 87401
Defendant

AFFIDAVIT FOR SEARCH WARRANT

Affiant, being duly sworn upon his oath, states that I have reason to believe that in the following
described property:

Acer Laptop computer, serial number LUSB002 197028004 942000,

Silver, Toshiba laptop computer, serial number PSME4Q0L002,

A green and white USB portable hard drive,

An 8 channel Black and Silver Swarm brand DVR (Digital Video Recorder) S/N:2494010110953

On the items described above, there is now evidence of (Promoting Prostitution), including but not
limited to:

documentation related to illegal business activity, including, but not limited to, documents
identifying the illegal business and its clients, contracts related to the business, applications or
agreements between employees and employers and/or customers, receipts, payment records,
ledgers or logs of prostitution, calendars, e-mails, bank deposits of undocumented monies and
photographs, along with, any video recordings of Wei Lu or her employees performing sexual
acts on clients and or video recording of Wei Lu or her employees receiving money for sexual
acts.

The facts tending to establish the foregoing grounds for issuance of this Search Warrant are as follows.

Tam Jacob Sanchez, a full-time, commissioned, salaried, and licensed police officer for the State of New
Mexico, presently working as a Deputy Sheriff for the San Juan County Sheriff's Office Special
Enforcement Team (S.E.T). Ihave been a peace officer for approximately four and a half years and have
received training in and have experience investigating a range of felony crimes. I am the affiant herein. I
learned the following facts from the sources noted and the investigation described.

On October 31, 2012, the SET team executed search warrants, see original against Asian Massage, at
203 S$. Orchard in Farmington, and against the gray Mazda bearing NM license number 426RHG, see
affidavit for search warrant D-116-SW-2012714. The SET team also executed a search warrant against
510 Wail Street apartment #8, Farmington, NM. See original search warrant, D-1116-SW-2012-113-3.

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During the search of Asian Massage, the SET team found several ledgers and financial documents, as
well as $5348 in cash, One of the ledgers was found in Li Jiang’s purse, and it appeared to document the
daily amount of tips she received at work, Also found in the office/bedroom from Asian Massage were
two laptop computers and a DVR recording device that was attached to a camera system. The DVR was
connected to a screen which showed four angles from cameras connected to the walls of the business.
One angle showed the lobby of the business. The other three angles displayed the entrances to all three of
the massage rooms. A partial view of each room was observed, and consisted of a partial view of the
massage table where clients would lay down to receive their massages and sexual acts.

I believe that the DVR. will contain video recordings of the sexual acts performed by Wei Lu and her
employees on clients that visited the business, I also believe that the video recordings may reveal money
transactions for the sexual acts performed on clients, I believe this because the video angles that were
observed on the screen show a partial view of cach massage room.

During the search of 510 Wali Street, the SET team found $3180 in cash, and several other ledgers.
During an interview with Li Jiang on October 30, 2012, she stated that she had cash that she had earned
from illegai prostitution at the apartment. When asked where the money was, she said that the money
was where she slept, in the pillow case. Upon searching the front room, $1180 was found inside a pillow
case that was on a mattress on the floor. An additional $2000 was found between the mattress and the
wall in the same area. Dune to Li Jiang’s statement about where her money was kept, and the fact that the
SET team found money in the spot that she described, the front room was possibly Li Jiang’s room.

Also found at 510 Wall Street were numerous copies of reviews from the website Erotic MP.com,
Rubmap.com, and a search page for erotic massage parlors in Albuquerque and in Farmington. These
documents, as well.as several pictures of Wei Lu, were found in a back room at 510 Wall #8 in a suitcase
full of women’s clothing. Also in the suitcase was Wei Lu’s Divorce Decree. There were numerous
articles of US Mail with Wei Lu’s name on them in the room, as well as other documents with Wei Lu’s
name on them. In this same bedroom, a USB travel drive was found inside a plastic sack with clothing.
Based on the articles of US Mail addressed to Wei Lu, the pictures of Wei Lu that were found in the
room, her Divorce Decree that was inside a suitcase in Wei Lu’s room with the erotic massage parlor
reviews, the back room was probably Wei Lu’s room.

The reviews that were found in Wei Lu’s room at 510 Wall Street #8 describe sexual acts being
performed for money by several of the masseurs at Asian Massage in Farmington and one for Lotus
Massage in Albuquerque. The reviews describe one of the women who called herself Vivian and said
that she is probably the “mamasan.” One of the documents found in this room was addressed to Vivian
Wei Lu. It is believed that “Vivian” is an alias that is used by Wei Lu. There was also a document found
at Asian Massage that was made out by “Vivian Lu.” This document was an application for internet

service.

Several of the reviews have hand written notes on them, including user names for the erotic review sites
and hand written descriptions of sexual acts, including prices, that are being performed at both massage

parlors.

During his interview with Li Jiang, I learned that Xiang Yu Xie had left the Farmington area on October
29, and gone to Los Angeles, California. During the surveillance of 510 Wall #8, the SET team learned
that Xiang Yu Xie did reside at apartment number 8 at 510 Wall Street. One of the two bedrooms at 510

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Wail Street #8 had a bare mattress in it with no bedding. There was a very small amount of women’s
clothing still in the room, and no personal items. The room looked as if it had been recently vacated.
The condition of the room supports Li Iiang’s statement that Xiang Yu Xie had left for Los Angeles,

Based on the fact that Deputy McCall have been solicited by both women at Asian Massage, and I have
been solicited by Xiang Yu Xie, I believe that there is probable cause that prostitution is taking place at
Asian Massage, 203 8. Orchard in Farmington. The copies of the erotic review website pages that were
found in Wei Lu’s room at 510 Wall #8 show that Wei Lu is aware of the illegal prostitution that was
taking place at Asian Massage. This indicates that Wei Lu, the owner of Asian Massage, is promoting the
illegal practices that are taking place in her massage parlor,

It is requested that authorization be given to conduct a search of the above two computers, the USB
portable drive, the DVR including central processing units; internal and peripheral storage devices such
as fixed discs, external hard disks, floppy disk drives and diskettes, tape drives and tapes, optical storage
devices or other memory storage devices; peripheral input/output devices such as keyboards, printers,
video display monitors, optical readers, and related communications devices such as modems; together
with backup media, system documentation, software and instructional manuals.

Information is being sought from the above items which were found on the premises for documentation
related to the business including, but not lunited to, documents identifying the business and/or clients,
contracts related to the business, applications or agreements between employees and employers and/or
customers, receipts, payment records, ledgers or logs of prostitution, calendars, e-mails, bank deposits of
undocumented monies, documents, video and photographs. Since Wei Lu is only in town periodically,
the information gathered will assist in obtaining information that she is running and has knowledge of
prostitution going on in the business. It will also be possible to obtain pictures and videos of the known

prostitution that was ongoing.

or the above-

Based on the above information, I respectfully request this Court to issue a search wart:
listed location to search for and seize the above-described documents.

ac b San ez 8566
Complainant

Deputy Sheriff
Title Gif any)

APPROVED:
Telephonically approved B Capshaw

Assistant/Deputy District Attorney

Subscribed and sworn to or declared and

affirmed to before me in San, Juan County,

Statesof New Mexico, this /, day of
(a4 , 2012

a dge, Notary, or Other Officer
Authorized to Administer to Oaths

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IN THE MAGISTRATE COURT
COUNTY OF SAN JUAN
STATE OF NEW MEXICO

STATE OF NEW MEXICO,
Plaintiff,
VS. No.
Wei Lu
DOB: 1/7/64
LIA: 510 N Wall #A8 Farmington, NM 87401
Defendant

SEARCH WARRANT

THE STATE OF NEW MEXICO

TO ANY OFFICER AUTHORIZED TO EXECUTE THIS WARRANT:
Proof by Affidavit for Search Warrant, having been submitted to me, I am satisfied that there is probable
cause that the person named or property described in the Affidavit is located where alleged in the
Affidavit and I find that grounds exist for the issuance of the Search Warrant. A copy of the Affidavit is
attached and made a part of this warrant. YOU ARE HEREBY COMMANDED to search forthwith the
person or place described in the Affidavit between the hours of 6:00 a.m. and 10:00 p.m., unless I
specifically authorized a nighttime search, for the person or property described in the Affidavit, serving
this Warrant together with a copy of the Affidavit, and making the search and if the person or property be
found there, to seize the person or property and hold for safekeeping until further order of the court.

documentation related to illegal business activity, including, but not limited to, documents
identifying the illegal business and its clients, contracts related to the business, applications or
agreements between employees and employers and/or customers, receipts, payment records,
ledgers or logs of prostitution, calendars, e-mails, bank deposits of undocumented monies and
photographs along with any video recordings of Wei Lu or her employees performing sexual
acts on clients and or video recording of Wei Lu or her employees receiving money for sexual
acts,

. You are further directed fo prepare a written inventory of any,person or property selz . You are further
directed to file the return and written inventory with the-6urt promptly after its-éxecytion,

nf
Dated the { “ day of To /__, 2012.

AUTHORIZATION OF NIGHTTIME SEARCH
I further find that reasonable cause has been shown for nighttime execution of this Warrant. I authorize
execution of this Warrant at any time of the day or night for the following reasons:

Juc ge

